
MICHAEL K. RANDOLPH, PRESIDING JUSTICE FOR THE COURT
*578This matter is before the Court, en banc, on the Petition of Leo Lewis for Permission to Appeal from Interlocutory Order and his request for a stay. Rebel Rags, LLC, has filed a response. After due consideration, the Court finds the petition should be denied.
IT IS THEREFORE ORDERED that the Petition of Leo Lewis for Permission to Appeal from Interlocutory Order is hereby denied.
SO ORDERED, this the 21st day of March, 2018.
WALLER, C.J., OBJECTS TO THE ORDER WITH SEPARATE WRITTEN STATEMENT JOINED BY KING, J.
MAXWELL, J., NOT PARTICIPATING.
WALLER, CHIEF JUSTICE, OBJECTING TO THE ORDER WITH SEPARATE WRITTEN STATEMENT:
¶ 1. For the reasons expressed in my separate statement in Kobe Jones v. Rebel Rags, LLC , 2017-M-1529-SCT, I object to this Court's denial of Leo Lewis's petition for interlocutory appeal.
KING, J., JOINS THIS SEPARATE WRITTEN STATEMENT.
